         Case 1:20-cr-00135-JMF Document 240 Filed 10/15/20 Page 1 of 1




NEW JERSEY OFFICE                                                           NEW YORK OFFICE
130 POMPTON AVENUE                                                          48 WALL STREET – 5 FL.
                                                                                             TH


VERONA NJ 07044                                                             NYC, NY 10005
(973) 239-4300                                                             (646) 779-2746


                                     LORRAINE@LGRLAWGROUP.COM
                                        WWW.LGAULIRUFO.COM
                                      FAX: (973) 239-4310
                                           _________

                                                                    October 14, 2020
Via ECF
Hon. Jesse M. Furman
United States District Court Judge
Thurgood Marshall
United States Courthouse
40 Foley Square
New York, NY 10007

                     Re: United States v Arguendas (Jacobb Padin)
                         20 Cr. 135 (JMF)

Dear Judge Furman:

        Jacobb Padin has been on temporary release since April 8, 2020, because of the threat
that COVID-19 posed to his health at the jail. Mr. Padin had shoulder surgery on September 18,
2020 and is still recovering from that surgery. His doctor is now concerned with some issues in
his lower back and has scheduled an MRI for Mr. Padin’s lower back for October 21, 2020,
at11:30 a.m. Mr. Padin needs to have his ankle bracelet removed for this MRI. I have contacted
Bernisa Mejia, Mr. Padin’s Pretrial Service Officer, who has advised that he is in compliance
with his conditions of pretrial release, and that she has no objection to this request. On the day
of the MRI, Mr. Padin can go to her office prior to the MRI and have his ankle bracelet removed,
and then return to her office to have it reattached following the MRI. Andrew Chan, AUSA has
no objection to this modification of bail. Therefore, we respectfully request that Mr. Padin’s bail
be modified for Pretrial Services to remove his ankle bracelet for his scheduled MRI on October
21, 2020, and to have the ankle bracelet reattached by Pretrial Services following the MRI. Your
Honor’s time and consideration of this request is greatly appreciated.

                                                                  Respectfully submitted,
 Application GRANTED. The Clerk of Court is directed to terminate    s/
 Doc. # 239. SO ORDERED.                                          Lorraine Gauli-Rufo
                                                                  Attorney for Jacobb Padin



                        October 15, 2020
